Case 5:24-cv-00739-PRW Documenti1-1 Filed 07/22/24 ASpEN CaM be

samantha-siong: ricks

Authorized Representative

for LEGAL FICTION SAMANTHA RICKS
General Delivery

Liberty, Missouri 64068

AFFIDAVIT OF FACTS

I, a woman, samantha-siong: ricks, Authorized Representative
for LEGAL FICTION SAMANTHA RICKS state:

I am the biological mother to my offspring: a young woman, ida rose kovalscik and a young
man, aurelius radovan facchi.

Regarding: IN THE MATTER of IDA ROSE KOVALSCIK DOB: 8/19/2015 (Ida) AND
AURELIUS FACCHI DOB: 5/10/2017, (Aurelius) Case Number JD-2021-88, Date Filed May
13, 2022 in THE DISTRICT COURT OF CANADIAN COUNTY STATE OF OKLAHOMA
JUVENILE DIVISION.

On August 19, 2015 I gave birth to a young woman and named her, Ida Rose Kovalscik and on
May 10, 2017 I gave birth to a young man and named him, Aurelius Radovan Facchi. Both Ida
and Aurelius have the same biological father JOSHUA A KOVALSCIK. Aurelius has the last
name Facchi as a mistake was made at the hospital and he was given my former married last
name. A paternity test was performed and determined the fact that Aurelius is in fact the
biological son of JOSHUA A KOVALSCIK. The paternity test is recorded in the SUPERIOR
COURT OF COBB COUNTY in the STATE OF GEORGIA shown as FINAL OREDER ON
LEGITIMATION, CUSTODY AND CHILD SUPPORT. [EXHIBIT A}

Early in the year of 2020 young woman Ida made statements to a therapist, by the name of Emily
Klein with “Ray of Hope Counseling Services” in Marietta, Georgia, claiming that her biological
father, JOSHUA A KOVALSCIK, had abused her sexually.

I organized therapy for Ida due to verbal and physical abuse sustained by JOSHUA A
KOVALSCIK to help Ida with her emotions and behavior that resulted from the abuse.

Emily Klein the therapist is a mandated reporter therefore she referred the case to Special
Victims Unit and Response Division of Cobb County in Marietta, Georgia to Detective Michael.
R. Ferruccio. I took Ida to SVU SafePath for a physical and verbal examination with a woman
named Chelsea. Ida was very young and would not allow the physical examination. The results
at the time were inconclusive.

Upon Detective Michael. R. Ferruccio contacting JOSHUA A KOVALSCIK (the biological
father) he attempted to commit suicide and was then taken by ambulance to hospital and then the
mental hospital where he was admitted for two weeks. Ida’s grandfather, NICK KOVALSCIK
picked up JOSHUA A KOVALSCIK from the mental hospital and carried him to Youngstown,

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Ohio. Sometime later JOSHUA A KOVALSCIK returned to Georgia for a few days with his
new girlfriend Nicole DeScenna. JOSHUA A KOVALSCIK and Nicole moved to the State of
Ohio where he and Nicole currently live together. That was the last time Ida and Aurelius’ had
seen their father JOSHUA A KOVALSCIK.

JOSHUA A KOVALSCIK emailed me that he would not return to the State of Georgia due to
Ida’s accusations of sex abuse.

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THE FOLLOWING IS THE REBUTTAL TO THE AFFIDAVIT OF SUSAN ALLEN

On 12/22/21 the case was passed to a worker do to holiday leave and CPS called EL Reno
police, and they still had no information. A call was made to Sandra Henry,

SANDRA HENRY is a woman from Houston, Texas that was/is a member of SONYA
HALL’s group in the TELEGRAM app. She drove up from Houston to Dallas on
December 8, 2021 with a drug test with concerns that the NEGATIVE 48 group may have
poisoned me. That was the first time we had ever met SANDRA HENRY. SANDRA
HENRY also provided a COVID-19 test due to my high fever concerns. She also brought
cold medicines for me and Aurelius who had a cold. Further, she brought snacks and
Christmas goodies for the Ida and Aurelius apparently paid for by the members of IT IS
WHAT IT IS. A woman RHONDA GLASBY ordered us pizza and had it delivered to our
room at the Marriott.

Another contact was stated to know where the children and Ms. Ricks were living, and she
would not give information.

On 12/23/21 at approximately 8:30 AM a call was received from Shawn Taylor, who stated the
mother and the children were brought to his home, with his common-law wife SONYA HALL.
SHAWN TAYLOR our host is the owner of the property located at 5705 Northridge Dr. El
Reno, Oklahoma. We did not know him prior. He has a long rap sheet I have attached the
background check by a P.I. hired by my friend Chris Oldham. [EXHIBIT B|

He was very hesitant to give out information but stated the family was currently in his home at
5705 North Ridge Dr. EL Reno. He stated the mother was known to have a loaded gun and he
had attempted to get to it and unload it, but was unsuccessful.

This is a lie. The gun was not loaded and was in the original box it was purchased in and
wrapped in plastic. Shawn Taylor did not know where the gun was at any time while we
were in his home. I did not show him my firearm nor disclose the location at any given
time. I had three ammo clips all of which were separately wrapped in socks with smiley
faces in the original box. LT. PAUL REYNOLDS demanded I show him my gun. I pointed
to my gun that was in the original box, that was on the coffee table in a basket under my
other personal property and he instructed a deputy to take it. That deputy took my gun out
of sight and later returned it within my sight on a coffee table to which I asked the deputy
to please move my gun to a place out of reach of Ida and Aurelius.

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The deputy moved the gun to a side table next to the couch once again prompting me to ask
the deputy to please move the gun to a high area where Ida and Aurelius could not access
the gun. LT. PAUL REYNOLDS and I discussed me coming to his office so that I may pick
up a safety lock as I had left mine at home in Georgia and he did not have one in his vehicle
to give me at that time.

It was reported the mother was willing to kill her children rather than allow them to go into state
custody.

I swear under oath that it NEVER HAPPENED. There is no first-hand witness that can
testify that this statement was made. This is a false statement and hearsay created to make
it appear that I was unstable and a threat to the children so that JOSHUA A
KOVALSCIK, the biological father, and the couple SANDRA HENRY, SHAWN TAYLOR
and SONYA HALL could snatch the children away from me and take them to live with
JOSHUA A KOVALSCIK and his new girlfriend in Cortland, Ohio.

Three different agencies report three opposing statements: 1. that I was going to shoot my
children 2. That I was going to shoot myself and 3. That I was going to shoot the OK DHS
worker.

In early 2022 I spoke to LT. PAUL REYNOLDS on the telephone from my home in
Georgia addressing these three (3) conflicting reports. He stopped me short telling me,
‘Don’t you think for a minute that if I thought you were a danger to your children I would
have arrested you, taken your gun etc’. He said, “You were not what I was told’. I believe
he was referring to the FALSE REPORT. I told him to please go and get my children. He
said he cannot do that to which I rebutted that he is the Sheriff department that it is his
duty to do the right thing and go and get my kids. He repeated that he could not help me
and told me to get a lawyer. He also told me on that same phone call that he was “surprised
that the judge decided to take my children.” .

Again, I believe that this is a conspiracy between LIEUTENANT PAUL REYNOLDS, who
was acting on hearsay evidence without a proper investigation to find the facts, the OK
DHS Investigator SUSAN ALLEN, the (biological father) JOSHUA A KOVALSCIK, and
the couple SHAWN TAYLOR and SONYA HALL to snatch the children away from me
and take them to live with JOSHUA A KOVALSCIK and his new girlfriend in Cortland,
Ohio so he wouldn’t have to continue paying child support. I believe this to be true as the
last child support payment made by JOSHUA A KOVALSCIK to me was on or about
December 15, 2021. My belief is that he anticipated the removal of Ida and Aurelius
leading him to cease his court ordered child support payments.

In the OKLAHOMA DHS interview by SUSAN ALLEN with JOSHUA A KOVALSCIK
she reported that JOSHUA A KOVALSCIK was colluding with SONYA HALL and
SANDRA HENRY in order to steal my children away from me and let the police deal with
me. On the first day that I was allowed to visit with Ida and Aurelius at the OKLAHOMA
DHS center in E] Reno, SUSAN ALLEN returned the telephone that SANDRA HENRY
had purchased for me in Dallas, Texas. The phone I had given to Aurelius on the December
22, 2021 so that he could call me when he wanted to talk to me. SUSAN ALLEN told me
she was also concerned that SONYA HALL and others were trying to “track” Ida and
Aurelius. I told her of my suspicions that lead me to believe the same at that time as I was

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sent a screenshot photo from SONYA HALL tracking SANDRA HENRY’S trip to El Reno
Oklahoma from Houston Texas. [EXHIBIT C|

It was reported the mother is not stable and it is there what drugs she is using; but she will get to
the point Sonia would care for the children.

This is a False statement. NEVER HAPPENED. The only reason I was resting is because
SONYA HALL invited me to her home to rest because I had a high fever and needed rest. I
became sick in Dallas with back-to-back colds then a high fever. I was in great pain. That is
why I got a Telehealth appointment and filled my antibiotic prescription and steroid
prescription so I could breathe as I was very congested. SONYA HALL offered to watch
the children so I could rest and recoup. Period.

She is known to be taking a prescription and drinking

My prescriptions are the same ones that have been prescribed by my doctor by the name of
Jawaid Ahsan whose address is 1000 Johnson Ferry Road, Building E in the State of
Georgia. During the Emergency Custody hearing on or about December 28, 2021 I
produced evidence of my prescriptions to judge BOB HUGHEY in the form of paper
receipts directly from the pharmacy where I had my prescriptions filled. The urinary
analysis report resulting from my submission to the test showed only my prescriptions in
the results. This is on the record in the juvenile court.

all causing her and ability to care for the children.

In all ways at all times I have diligently cared for and fiercely protected my children. My
doctor knows my children as they attend appointments with me and monitors my care at
all times. NEVER have I NOT been able to care for my children. In fact immediately upon
Ida and Aurelius being taken I began gathering character/witness statements from those
who have knowledge of my mothering skills and behaviors and submitted them to SUSAN
ALLEN and JUDGE HUGHEY. [EXHIBIT D|

the mother is reported to have mental health concerns ranging from bipolar to possible
schizophrenia, and it is unknown she is treating.

This is a FALSE STATEMENT, nothing but hearsay, I have never been diagnosed with
bipolar or schizophrenia by any doctor in any state and this diagnosis cannot be proven. It
is my belief that this mental health concern was fabricated to make it appear that my
children were in danger.

Due to the serious concern for safety and location, the Canadian County Sheriff's office sent out
multiple deputies, and assisted in securing the weapon and later a removal of the children from
the mother.

It is my belief that the CANADAIN COUNTY deputy(s) were operating on false evidence
created as a conspiracy to kidnap my children away from me. See above conversation with
LT. PAUL REYNOLDS. He knew my children were safe with me. I believe he acted with
reckless regard for the truth. The deputies and SUSAN ALLEN were at the residence of
SHAWN TAYLOR for approximately five (5) hours before informing me that they were
talking Ida and Aurelius. The record shows that NO emergency of neglect or abuse existed.
In fact the level 5 listed on the referral is considered low priority. SONDRA CANTU

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testified during my felony trial that my case was not initiated on an emergency basis. I am
waiting on a copy of the Court transcript from CANADIAN COUNTY. [EXHIBIT FE}

While at the home Ms. Ricks was taking direction from a person claiming to be her power of
attorney and self-proclaimed child advocate, Chrisalena Pringle;

The children know Chrisalena Prinlge my POA and child advocate and I have a legal
binding contract with her. Chrisalena with along with Kimberly Lowe, candidate for
Senate in Virginia, effectively had the State of Texas stand down on their hunt for us while
in Texas. We have recorded calls and emails available on my laptop and cell phone that is
in evidence at the PAYNE COUNTY SHERIFF DEPARTMENT. [EXHIBIT F|

with Miss Pringle listened to all the conversation and advised Ms. Ricks what to answer and
what not to answer, as well as when she wanted Ms. Ricks to stop talking, and Ms. Ricks
followed her direction.

SUSAN ALLEN improperly asked Ida “if her mommy takes any medicine not prescribed
by a doctor” clearly violating our civil rights. This was with-out-a-doubt an inappropriate
question for a six-year-old girl who would not know the difference between a vitamin,
prescription or non-prescription.

Miss ricks would not let the children speak to CPS without her presence and then miss Pringle
supervised the conversation when Ida was willing to talk with CPS.

I believe I was completely within my rights to be present with Ida when SUSAN ALLEN
was performing her unlawful interrogation; asking a six-year-old minor child several
questions like “does your mommy smoke cigarettes, does your mommy drink alcohol, does
Sonya Hall smoke cigarettes, does your mommy take any pills not prescribed by a doctor,
does your mommy spank you etc.” I believe that SUSAN ALLEN violated my civil rights
thereby violating the Constitution and her oath of office during this episode. And her
testimony should be stricken from the record.

Ms Ricks would not cooperate with CPS and explain her situation, she came to live in the home
of Shawn and Sandia,

Firstly, we were NOT living at SHAWN TAYLOR and SONYA HALL’s home.

We were lured there under false pretenses as part of the conspiracy to kidnap my children.
SHAWN TAYLOR and SONYA HALL lied to us saying that they would provide a safe
place for me and my family so that I could recoup before our long ride home to Georgia—
all because SONYA HALL and SANDRA HENRY claimed we were not safe in Dallas.

And why she is reported to have been in six states in about six months with the children.

We, as a family traveling, sightseeing and learning about the different states and exploring
new opportunities for a new place to call home. Our neighborhood in Georgia had become
a place of harassment by the GA DFACS as the children’s father and my mother were
calling the GA DFACS on me repeatedly. There were not many children on our block and
the neighborhood in general was not very friendly. We decided to travel in search of a new
place to live. We found that place in Ruidoso, New Mexico. We were planning to sell our
home and relocate to Ruidoso. We love it there.

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It is reported in addition to her taking pills and drinking alcohol she had pills delivered to the
home

My prescription was prescribed by a dentist at Jefferson Dental in Dallas Texas due to a
broken molar that has exposed a nerve. I provided evidence to judge BOB HUGHEY of
this prescription during the Emergency Custody hearing on or about December 28, 2021. I
testify that there was never any excessive drinking. And I am of legal age to consume
alcohol.

and law enforcement has not been able to find them. But did find $3000 cash and Ms. Ricks
purse.

LT. PAUL REYNOLDS of the CANADIAN COUNTY SHERIFF DEPARTMENT claims
he found $3000 and that it could have been from my sale of drugs. This is a total
speculation. The truth is that I use cash in most occasions. The money in my purse was
from cashing my stimulus check at the WAL-MART in Dallas Texas. Again he was in the
house without a search warrant in violation of his oath of office and violations of the
Constitution. I did not witness him search my purse. I demand that his testimony be
stricken from the record. |

It was reported Ms. Ricks is concerned that Ida was molested by her father Joshua

Emily Klein a licensed therapist with “Ray of Hope Counseling” was the reporter of this
matter and the Cobb County Special Victims Unit (SVU) department and Detective
Michael. R. Ferruccio at SVU has the reports.

...and her children were tortured and molested by her biological mother

I have a video recording of the children making statements in this matter. These recordings
are on my devices held at the PAYNE COUNTY SHERIFF DEPARTMENT (I have
requested the return of my electronic devices; the PAYNE COUNTY SHERIFF
DEPARTMENT refuses to return them to me) Ida made the statement in her interview
with SUSAN ALLEN; in early 2021 Chrisalena Pringle reported this matter to the COBB
COUNTY POLICE DEPARTMENT. I have photos of the marks on the children’s necks of
the abuse by my mother. These photos are on my laptop and cell phone being held by the
PAYNE COUNTY SHERIFF DEPARTMENT.

The children have been reported to be breast-feeding and Aurelius been reported to openly
masturbate while in public areas

The affiant has no idea where this “openly masturbate while in public areas” information
came from. It is without-a-doubt a FALSE STATEMENT and a blatant lie. I have never
seen any such behavior of my then-four-year-old son.

I believe this statement was made with malice; damaging to Aurelius and our entire family.
Aurelius had not weaned from breastfeeding. He and I were still physically bonded.
Aurelius would cry for me on the phone from the foster home asking for me to nurse him
so he could sleep. He was inconsolable. He asked for a pacifier. He had never used one in
his life to that point. Under the traumatic circumstances of him being kidnapped from me
he needed a form of comfort. He was denied a pacifier by the foster mother KIMBERLY
CLOPTON as she claimed it is bad for his teeth. She had zero regard for his mental

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wellbeing and comfort. I objected and asked for her to give him a pacifier. Never was he
allowed that comfort. In the emergency hearing on or about December 28, 2021 SUSAN
ALLEN testified in court that KIMBERLY CLOPTON had NOT observed any such
behavior by Aurelius in her home.

of the home due to the mother drinking alcohol and pills the concern of receiving and selling
narcotics

I have never seen any evidence and I believe that there is none available, that I have ever
been involved with selling narcotics. Only here in this affidavit of SUSAN ALLEN was I
accused of selling narcotics. I believe this is a blatant lie by SUSAN ALLEN who has no
authority and without a search warrant created this false evidence to take my children
away from me.

Again, I believe that this is a conspiracy between LT. PAUL REYNOLDS, who is in
violation of his oath of office and in violation of the Constitution, who is acting on hearsay
evidence without a proper investigation to find the facts, the OK DHS agent SUSAN
ALLEN, JOSHUA A KOVALSCIK, the biological father, and the couple SHAWN
TAYLOR and SONYA HALL to snatch the children away from me, the biological mother,
and take them to live with JOSHUA A KOVALSCIK and his new girlfriend, NICOLE
DESCENNA in Cortland, Ohio. I believe that this conspiracy is all about the children’s
father JOSHUA A KOVALSCIK not wanting to pay child support with his girlfriend
NICOLE DESCENNA. NICOLE DESCENNA published a GIVE SEND GO crowd
funding campaign to raise money to help them get Ida and Aurelius away from me. The
campaign contained false statements. In my property [withheld in the PAYNE COUNTY
SHERIFF DEPARTMENT] I have screenshot photographs of the campaign. NICOLE
DESCENNA was actively posting defamatory statements about me—even though she and I
met only one time for less than an hour in Georgia when she and JOSHUA A
KOVALSCIK packed up his belongings and moved to OHIO—in TELEGRAM chatrooms
associated with NEGATIVE 48 and SONYA HALL group IT IT WHAT IT IS. This
evidence is also in my electronic devices in the PAYNE COUNTY SHERIFF

DEPARTMENT.

Furthermore I am of legal age to responsibly have an adult beverage to celebrate the
holidays. I was offered the same drink that SONYA HALL was having on one occasion and
another time I enjoyed half a beer and placed the other half in the refrigerator that was
gone on the morning when I woke up. I have NEVER sold narcotics.

and mental health and stability children are found unsafe in the care of the mother Sandia and
Shawn believed her to be a severe flight risk if the children remain in the home.

Again, I believe that this accusation “to be a severe flight risk if the children remain in the
home,” found in the affidavit of SUSAN ALLEN is a part of the conspiracy between the
CPS agents and JOSHUA A KOVALSCIK, the biological father and the couple SHAWN
TAYLOR and SONYA HALL to kidnap the children away from me and take them to live
with JOSHUA A KOVALSCIK and his new girlfriend in Cortland, Ohio. The interview
recorded by SUSAN ALLEN is evidence of this conspiracy. [EXHIBIT G}

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Regardless of any Department of Human Services reports, the allegations at issue during trial are
these:

The affiant believes the statement “Regardless of any Department of Human Services
reports,” is an effort to mislead the court. Furthermore the affiant believes that there will
be no first-hand knowledge testimony provided at the trial. The affiant has seen no
evidence of an affidavit or any testimony under oath to prove the allegations a., b., 1., 2., 3.,
4., 5., etc. below. The affiant demands that the Department of Human Services reports are
filed with the court clerk as evidence providing an opportunity by the affiant to
challenge/rebut the testimony in those reports.

If these DEPARTMENT OF HUMAN SERVICES reports are not put into evidence in the
affiant believes that this is a violation of the affiant’s “due process” rights provided by the
two “due process” clauses in the United States Constitution: a clause in the Fifth
Amendment that applies to the federal government and a clause in the Fourteenth
Amendment that applies to the states. The traditional definition of "due process" is that
the government cannot take away life, liberty, or property from any person without a legal
proceeding.

a. That the mother failed to provide the proper parental care and guardianship necessary for the
physical and mental well-being of the children.

This allegation is rebutted at this time by me that there is no evidence and I believe no
evidence exists. This allegation cannot be proved by any facts or witnesses to testify to this
fact. I will bring forth witnesses on the record to rebut this allegation.

b. That the home of the mother is unfit due to neglect.

This allegation is rebutted at this time by me that there is no evidence and I believe no
evidence exists. This allegation cannot be proved by any facts or witnesses to testify to this
fact. I will bring forth witnesses on the record to rebut this allegation. Our HOME at the
time was in Georgia providing no possible way SUSAN ALLEN could have assessed our

home.

1. That the mother exposed her children to inappropriate sexual behavior to include ongoing
breastfeeding.

This allegation is rebutted at this time by me that there is no evidence and I believe no
evidence exists. This allegation cannot be proved by any facts or witnesses to testify to this

fact. I will bring forth witnesses on the record to rebut this allegation.
Breastfeeding is a sacred bond between a mother and child. I rebuke the accusation made
with malice that this is an inappropriate relationship with my precious children.

2. That the mother has failed to ensure Ida attends school.

This allegation stated here in the DEPRIVATION PETITION is fraud upon the court
committed by MICHAEL J FIELDS District Attorney, CANADIAN COUNTY,
OKLAHOMA by and through LORY DEWEY, Assistant District Attorney. MICHAEL J
FIELDS, District Attorney, CANADIAN COUNTY, OKLAHOMA by and through LORY

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DEWEY, Assistant District Attorney have no evidence of such a statement and the affiant
believes none exists. The affiant was home schooling both Ida and Aurelius. I testified on
the record to this allegation in court on or about December 28, 2021 during the Emergency
Custody hearing with judge BOB HUGHEY.

3. That the mother and Ida allege Ida's father and Ida's maternal grandmother sexually abused
Ida, yet the mother has failed to seek treatment for her child.

This allegation is rebutted at this time by the affiant; that there is no evidence and I believe
no evidence exists. This allegation cannot be proved by any facts or firsthand witnesses to
testify to this fact. I will bring forth witnesses on the record to rebut this allegation.

4. That the mother requested the children be placed with their father despite her accusation that
he sexually abused Ida.

Initially I requested that my friend Carol Messerly of Oklahoma take Ida and Aurelius
until the matter could be cleared up. LT. PAUL REYNOLDS spoke on the phone with
Carol Messerly and disqualified her on the spot. I have no knowledge why he did so.
Therefore, I asked for Ida and Aurelius to be placed with Joahua as I truly believed it was
in the best interest of the children to go to family instead of strangers. I was frightened to
not know where my children were going and where they would be. I believe it is better that
Ida and Aurelius would be with family as we have NO ties to the STATE OF
OKLAHOMA.

5. That the mother has failed to provide a safe and stable home for the children while traveling to
six states in six months.

At all times Ida and Aurelius were safely housed i in any location we may have been visiting
while traveling through our country. We are free to travel. As a family we traveled often
and had found a lovely place we were intending to relocate to once we returned to Georgia
from our family trip.

c. That the home of the mother is unfit due to threat of harm.

This allegation is rebutted at this time by me. There is no evidence and I believe no
evidence exists. This allegation cannot be proved by any facts or witnesses to testify to this
fact. I will bring forth witnesses on the record to disprove this allegation. Our HOME at
the time was in Georgia. There is no possible way the OK DHS could have assessed the
situation in our home. This allegation should be stricken from the record.

1. That the mother convinced the children that DHS would deny the them nutrition and hydration
and eventually murder them.

This allegation is rebutted at this time. I believe that there is no evidence to this allegation
and I believe no evidence exists. I believe it is hearsay and no evidence exists. This
allegation should be stricken from the record because there is no evidence or firsthand
knowledge.

2. That the mother threatened to shoot her children rather than allow them to be placed into DHS
custody.

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This is a lie; this allegation is rebutted at this time. I believe that there is no evidence to this
allegation and I believe no evidence exists. This allegation cannot be proven by any facts or
witnesses to testify to this fact. I will bring forth witnesses on the record to disprove this
allegation. There is no possible way that anyone involved in this case, has first-hand
knowledge of this so-called threat.

d. That the home of the mother is unfit due to substance abuse.

This allegation is rebutted at this time. There is no evidence and I believe no evidence
exists. This allegation cannot be proven by any facts or witnesses to testify to this fact. I will
bring forth witnesses on the record to disprove this allegation. I believe that this is
allegation is hearsay and was written in this way to create the illusion that I am (the
mother) a substance abuser for the court to act on hearsay to kidnap my children.

dd. A statement found in the DEPRIVED PETITION stated that Oklahoma is the home state of
said children and the court has subject matter and personal jurisdiction pursuant to Title OA
O.S. § 1-4-101, et seq.

This statement that “Oklahoma is the home state of said children and the court has subject
matter and personal jurisdiction “ this statement is a presumption and is presumed by the
court when in fact jurisdiction has never been proven. In an email from judge BOB
HUGHEY to the COBB COUNTY COURT system judge BOB HUGHEY openly states
that he has knowledge of our Georgia custody agreement. [EXHIBIT H|

The affiant believes that jurisdiction can be argued at any time. The statement that the
court has subject matter and personal jurisdiction is immediately challenged/rebutted by
the affiant. It is a fact that subject matter and personal jurisdiction has never been proven.
I objected to jurisdiction repeatedly in ZOOM hearings from my home in Georgia. I also
filed on the record a notarized UCCJEA affidavit of residence showing our address history
for the prior consecutive 5 years of both Ida and Aurelius in our HOME STATE of
Georgia. I also served SUSAN ALLEN with a WRIT OF HABEAS CORPUS FOR THE
EMERGENT RETURN OF THE CHILD. The COBB COUNTY SUPERIOR COURT
judge ANGELA BROWN dismissed the action claiming she had no jurisdiction though the
custody order between I and JOSHUA A KOVALSCIK is on the record in the SUPERIOR
COURT OF COBB COUTNY GEORGIA. Judge BOB HUGHEY repeatedly ignored my
objection for lack of jurisdiction. I had several witnesses enter the ZOOM hearing only to
be blocked out by judge BOB HUGHEY. The hearing held in March of 2022 I had several
witnesses present. One witness named Linh Stephens addressed the kidnapping of Ida and
Aurelius to which judge BOB HUGHEY said, “We will not be using the word kidnapping.”
[EXHIBIT ]]

e. That it would be in the best interest of the children that they be adjudicated as deprived
children as to their mother and made wards of the Court.

i, the biological mother, samantha-siong: ricks Authorized Representative

for LEGAL FICTION SAMANTHA RICKS believe that all of the above allegations in this
DEPRIVED PETITION are hearsay, without proof, testimony under oath, and/or evidence
that can be proven by facts and first-hand knowledge witnesses.

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= = /
Also, i, the biological mother, samantha-siong: ricks Authorized Representative

for LEGAL FICTION SAMANTHA RICKS believe that in this DEPRIVED PETITION
BY THE AUTHORITY OF THE STATE OF OKLAHOMA that the state of
OKLAHOMA and THE DISTRICT COURT OF CANADIAN COUNTY, JUVENILE
DIVISION have no authority over me the biological mother of IDA ROSE KOVALSCIK
DOB: 8/19/2015 (Ida) or AURELIUS FACCHI DOB: 5/10/2017 (Aurelius).

Furthermore, i, the biological mother, samantha-siong: ricks Authorized Representative
for LEGAL FICTION SAMANTHA RICKS believe that in this DEPRIVED PETITION
BY THE AUTHORITY OF THE STATE OF OKLAHOMA that the state of
OKLAHOMA and THE DISTRICT COURT OF CANADIAN COUNTY, JUVENILE
DIVISION have no authority over the young woman IDA ROSE KOVALSCIK DOB:
8/19/2015 and the young man AURELIUS FACCHI DOB: 5/10/2017.

Furthermore, i, samantha-siong: ricks Authorized Representative for LEGAL FICTION
SAMANTHA RICKS will prove that THE DISTRICT COURT OF CANADIAN
COUNTY, JUVENILE DIVISION is a for-profit corporation that has a D-U-N-N-S
number and a CUSIP (a security) number for the Case Number JD-2021-88 in violation of
the OKLAHOMA Constitution, the united states Constitution and the rules of
incorporation by the secretary of state of OKLAHOMA in which a CORPORATION (is a
piece of paper with no arms and no hands) should not be repugnant to the OKLAHOMA
Constitution, the united states Constitution.

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The Report to District Attorney is a document generated by DHS upon completion of an
investigation into allegations of abuse/neglect. This DA Report contains summaries of witness
interviews conducted during the DHS investigation.

Your children were interviewed by a forensic interviewer who is not employed by DHS or the

District Attorney's Office.
The DA Report incorrectly identifies Susan Allen as the person who interviewed the children on

January 4, 2022. My records do not identify the interviewer's name.

By this statement “My records do not identify the interviewer's name,” it appears that the
DA does not have any idea of the name of a “forensic interviewer.”

Therefore the affiant moves this court to dismiss this case and immediately return Ida and
Aurelius to i, woman, samantha-siong: ricks for lack of jurisdiction and fraud upon the
court.

And that the DA report states: “the DA report incorrectly identifies SUSAN ALLEN as the |
person who interviewed the children” Therefore the affiant moves this court to dismiss this

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case and immediately return of Ida and Aurelius to the woman, samantha-siong: ricks for
lack of jurisdiction and fraud upon the court.

The children's interviews are not transcribed so those will not be offered into evidence at the
trial.

The affiant believes that there is no reason why the Ida and Aurelius’ interviewer’s
affidavits are not to be offered into the evidence at trial. The affiant believes that this
appears to be a violation of due process rights provided by the two due process clauses: a
clause in the Fifth Amendment that applies to the federal government and a clause in the
Fourteenth Amendment that applies to the states. The traditional definition of "due
process" is that the government cannot take away life, liberty, or property from any person
without a legal proceeding.

Therefore the affiant moves this court to dismiss this case and immediately return the Ida
and Aurelius to the woman, samantha-siong: ricks for lack of jurisdiction and fraud upon
the court.

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In the Fall of 2021 me and my boy, Aurelius and my girl, Ida were traveling through the country
to meet up with a group of Christians coming together in Dallas, Texas to pray and bring
awareness to child trafficking and the movement referred to as #SaveTheChildren. The name of
the group was called together by a man named Michael Brian Protzman a.k.a. Negative 48 and -
48 in online communities via the app Telegram and through You-Tube etc. I became an
administrator on one of Michael Protzman’s groups effectively organizing those that would be
joining the group in Dallas, Texas starting around October 28, 2021. [EXHIBIT J]

On or about November 1, 2021 we arrived in Dallas, Texas meeting the group in Dealy Plaza.
During our stay in Dallas we lodged at the Marriott, the La Quinta and Hyatt hotel(s). We
attended many gatherings in Dealy Plaza as well as the AT&T center. The group was
approximately 100-150 people at any given time. There were other family(s) present with
children and others from many ages and genders. We often gathered to pray and were provided
complimentary meals in the conference rooms as well as restaurant outings and gift cards to
purchase food. This evidence is in my device being held at the PAYNE COUNTY SHERIFF
DEPARTMENT also in my AMAZON backup that I only have access to by my devices.

On or about November 2, 2021 a woman named ZINA TICE—one of the members of the group,
owner of TICE FOODS and former social worker in CALIFORNIA—gifted us approximately
$300-$400 in cash and booked us a room at the MARRIOTT HOTEL in downtown Dallas. We
stayed a couple of days. I used the cash provided to pay the balance of the hotel bill. I scanned
the receipt to keep for my records. The scanned receipt is stored in my phone located in PAYNE
COUNTY SHERIFF DEPARTMENT. With the remainder of the cash we ate at the restaurant
CINDYS located on the same block as the Marriott and I took the children to the
KALEIDESCOPE in the HYATT HOTEL across the street. [EXHIBIT K]

On or about December 8, 2021 I was lodging with Ida and Aurelius at a Marriot hotel in Dallas,
Texas when the women, SONYA HALL (screen name NAVYAVMOM) and SANDRA

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HENRY (screen name MONKEY CHIC) contacted me via the Telegram App—profile name—
IT IS WHAT IT IS—claiming that we were in danger. They proceeded to send me photographs
via text message containing images of a child reported missing that we had spent time with and
of a woman we had attended several events with in Dallas. I was put in contact with a woman
named MISTY BANKS claiming to be a detective [i was given conflicting information as to her
position including FBI agent and DALLAS POLICE DPEARTMENT officer. Both SANDRA
HENRY and SONYA HALL convinced me that I needed to leave Dallas immediately due to the
safety threats to women and children. I did not feel unsafe until the information that SANDRA
HENRY and SONYA HALL were sharing with me. They gave me two options for help as I was
very sick and unable to make the long drive to Georgia as I needed medical attention. I chose the
option to drive approximately 4 hours north to El Reno, Oklahoma to the residence of SONYA
HALL and SHAWN TAYLOR at 5705 Northridge Dr. El Reno, Oklahoma. SONYA HALL
claimed to be a good Samaritan who would help me with my boy and girl while I sought medical
attention. She said she is the sister to a deputy in the CANADIAN COUNTY SHERIFF
DEPARTMENT and that her son is in law enforcement; and that her other son is in the NAVY.
This information helped me trust her invitation.

5. On or about December 9, 2021 SANDRA HENRY purchased us a new cell phone claiming it
was for our security so that the group in Texas—Negative 48 a.k.a. Michael Brian Protzman we
had been recently assembled with—could not track us by our current cellphone. We arrived in El
Reno, Oklahoma on December 9, 2021 where we met SONYA HALL and SHAWN TAYLOR at
a gas station in El Reno, Oklahoma then we proceeded to the residence at 5705 Northridge Dr. El
Reno, Oklahoma.

6. On or about December 14, 2021 I had a telehealth appointment with a medical doctor to be
treated for my illness. The doctor prescribed me an antibiotic and steroid. I filled my
prescriptions at the Canadian County Pharmacy. Again EVIDENCE stored in my devices is
being unlawfully withheld from me in the PAYNE COUNTY SHERIFF DEPARTMENT
despite my many requests for my property to be returned to me.

7. On or about December 18, 2021 I informed SONYA HALL that I was feeling better and we
would soon be on our way. SONYA HALL proceeded to offer us to stay for Christmas. Ida and
Aurelius were very excited to stay. Against my better judgement I said yes. SONYA HALL had
organized presents to be delivered daily to the front porch from her TELEGRAM group, IT IS
WHAT IT IS. There were several dogs, cats and cows that made the children very happy and feel
safe. We attended the local children’s Christmas recital at the church where SONYA HALL’s
father Marty Hall (Owner of Sid’s Diner in downtown El Reno) welcomed us. After the recital
MARTY HALL and his wife (SONYA HALL’s stepmother) took us all to enjoy a Chinese
buffet in El Reno.

8. On or about December 20, 2021 I had had the oil changed in our car at Wal-Mart in El Reno,

Oklahoma and our tires changed at the Tires Plus affiliate in Yukon, Oklahoma to prepare us for
_ our travel home.

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9. On or about December 21, 2021 SANDRA HENRY a.k.a Monkey Chic arrived from Houston
Texas at the home of SONYA HALL and SHAWN TAYLOR she said she was passing through
on her way to Colorado. [EXHIBIT C}

10. On or about December 22, 2021 the woman SUSAN ALLEN Investigator/Child Welfare
Specialist with the Oklahoma Department of Human Services along with LIEUTENANT
DEPUTY PAUL REYNOLDS of Canadian County Sheriff Department and several other
deputy(s) entered the home of property owner, SHAWN TAYLOR, was not present to provide
voluntary permission to search the property without a warrant. LT. PAUL REYNOLDS stated
that their business was a ‘welfare check’. LT. PAUL REYNOLDS offered no explanation
justifying his welfare check. Therefore, anything that was noticed or observed after that point is
not admissible. I was under duress and felt threatened by the behavior of LT. PAUL
REYNOLDS. SUSAN ALLEN and LT. PAUL REYNOLDS entered the bedroom where my boy
and girl were sleeping peacefully, and they were awakened by SUSAN ALLEN and LT. PAUL
REYNOLDS as they pulled off their covers and started touching their bare skin. They were
frightened, startled and screaming. I tried to comfort them but they were inconsolable. LT.
PAUL REYNOLDS proceeded to search the guest room where we were being hosted. I did not
know why he was searching the room. He asked me to leave the room as he and his deputy(s)
and SUSAN ALLEN searched the guests room. Never did LT. PAUL REYNOLDS tell me what
they were searching for. He was threatening and gave me no choice in the matter. The search and
interrogation lasted approximately 4 — 5 hours during which time my boy and girl were playing,
eating and safe. Ida and I made a handmade bracelet for SUSAN ALLEN while she was
interrogating SONYA HALL and SANDRA HENRY. At some point Ida spoke to SUSAN
ALLEN answering some questions. Our advocate Chrisalena Pringle and her associate Kimberly
Lowe were on speaker phone listening to the conversation and stopped the conversation due to
SUSAN ALLEN asking inappropriate questions for a small child. Then while I was sitting at the
dining table LT. PAUL REYNOLDS informed me that they would be taking Ida and Aurelius
from me. I objected. I demanded a warrant. I repeatedly objected stating that without a warrant
they could not take my Ida and Aurelius. LT. PAUL REYNOLDS leaned into me and stated, “I
don’t need a warrant.” I began to cry and panic. LT. PAUL REYNOLDS told me to maintain my
composure that I was being closely watched. He ordered an armed deputy to guard me so that I
could not get up from my chair while they gathered Ida and Aurelius and some of their
belongings. I was told that I could say goodbye once they were strapped in their car seats. Ida
and Aurelius were screaming and crying for me. LT. PAUL REYNOLDS told Ida that he would
make sure that they got Christmas presents even if he had to buy them himself. Ida asked him,
“you promise?” to which LT. PAUL REYNOLDS responded, “I promise” then Ida asked him,
“you swear to God?” to which he responded, “uh huh.” I begged SUSAN ALLEN to give me a
piece of paper stating why they were taking my boy and girl. She said that her supervisor was on
the way with one. The supervisor never arrived with a piece of paper. I asked her why she was
taking Ida and Aurelius, she said, “I don’t think they are safe here.” I contacted my friend, Carol
Messerly, in Oklahoma to see if she would temporarily take them. LT. PAUL REYNOLDS
disqualified her over the phone. When I said to please let me have their father take them they
bullied me over hearsay. Once SANDRA HENRY helped SUSAN ALLEN collect their toys and
clothes they put them in SUSAN ALLEN’s car. I ran outside and was saying goodbye to them
through the window and running along with the vehicle so that I could tell them that I love them
and to stay safe and remember to not let anyone hurt them etc. I collapsed—was crying and

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screaming in terrible panic over where Ida and Aurelius would be going just 3 days before
Christmas without me.

On or about December 27, 2021 I obtained the APPLICATION TO TAKE MINOR
CHILD(REN) INTO EMERGENCY CUSTODY from Clerk, MICHELLE GARRISON stamped
by Judge Bob Hughey. The order is three (3) pages and the middle page is blank giving NO
explanation as to why the Judge Bob Hughey seized my boy and girl. [EXHIBIT L|

On or about December 28, 2021 an emergency custody hearing was held at the Children’s Justice
Center in El Reno Oklahoma with Judge Bob Hughey. I hired attorney Chris Arledge to
represent me in this matter. When I arrived for the hearing I was presented the affidavit with the
allegations against me. The document is false and full of hearsay. Chris Arledge counseled me to
be quiet when I wanted to object when JOSHUA A KOVALSCIK [Ida and Aurelius’ biological
father] was slandering me and telling the judge that he felt that Ida and Aurelius are not safe with
me. Based on his testimony Judge Hughey remanded the ‘children’ to the custody of the State of
Oklahoma even though JOSHUA A KOVALSCIK had not seen the ‘children’ in approximately
22 months at that time absolutely preventing him from having any knowledge of the safety of Ida
and Aurelius what-so-ever. Chris Arledge did not object to a photograph presented to me in the
hearing of what looked to be several bags of pills. I told the judge “I do not know what that is” as
I had no knowledge of the photo.

On or about December 28, 2021 while in the OK DHS visitation room at the CHILDREN’S
JUVENILE JUSTICE CENTER in El Reno, Oklahoma with Ida and Aurelius they told me that
they were sleeping in the bed with the FOSTER PARENTS. After the visit was over I addressed
this concerning issue with Investigator SUSAN ALLEN who told me she would address this
problem. Kimberly Clopton told me that her husband was not allowed to be in the home
according to OK DHS disqualifying him from being around foster children. SUSAN ALLEN
confirmed that information and said she would address that issue as well. Later I would learn that
due to Ryan Clopton abusing foster children in his care he was no longer permitted by the OK
DHS to live with him. I also raised concerns regarding Ida having a sleepover at a home other
than the approved foster home of KIMVBERLY CLOPTON and the wearing of makeup by my
then-six-year-old girl. These photos are held in my electronic devices in the PAYNE COUNTY
SHERIFF DEPARTMENT. [EXHIBIT M]

On this same day SUSAN ALLEN returned the phone that Sandra Henry had purchased for us at
Wal-Mart in Dallas. She told me that she was concerned that Sonya Hall and Sandra Henry were
tracking my children. That is why she returned the phone to me that I had given to Aurelius upon
her taking him away from me on December 22, 2021. I subsequently went to the Canadian
County Sheriff Department to file a protective order against Sonya Hall and Shawn Taylor but
was told by Sheila Preno, Secretary of CANADIAN COUNTY SHERIFF CHRIS WEST, that I
could not file a protective order against them because we were not related by blood and were not
living at 5705 Northridge Dr EL Reno where Sonya Hall and Shawn Taylor lived.

In early 2022 [date not known as my devices are currently held in the PAYNE COUNTY
SHERIFF DEPARTMENT that contain evidence and dates of events] Ida gave me our family

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‘code word’ for when they need help and are in danger. I took screenshot photographs of Ida and
Aurelius during the online visitations clearly showing them in distress. [EXHIBIT N}

On or about the months of late January and early February 2022 I made report to the
NATIONAL CENTER FOR MISSING AND EXPLOITED CHILDREN in regard to nude
photographs of my boy Aurelius transmitted to me via text from the FOSTER PARENT
KIMBERLY SUE CLOPTON and photos of my girl Ida with FOSTER PARENT RYAN DEAN
CLOPTON as he looked at her underwear. RECORDINGS OF POLICE CALL AND NCMEC
CALLS TO BE TRANSCRIBED AT A LATER DATE.

On or about April 2022 the report was opened and transferred to the GBI and the OSBI. The
report numbers related to the case are these: CYBER TIP NUMBER # 118453292.

On or about the Easter holiday season Kimberly Clopton and Ryan Clopton were posting
photographs in the social media app FaceBook of Ida and Aurelius in direct violation of the law.

On or about the month(s) of June and July 2022 Ida was placed under anesthesia and four (4) of
her newly formed permanent teeth were surgically removed against my wishes and without my
written consent. I believe this procedure was done with Malice and by Malpractice. I have
evidence supporting the fact. Never was I offered or presented with any medical or dental
records. Ida has been physically and emotionally damaged by this evil practice. I have evidence
that the chart used to remove Ida’s teeth is not a chart of her actual mouth. In fact I believe the
chart belongs to a boy whom I took to the dentist and paid for his checkup while in Dallas. |
requested that the group pull together the funds to pay for his much needed dental procedures to
which I was willing to personally pay for if the funds could not be raised. I believe that SHELLY
MULLINEX handed over to SONYA HALL or others involved in the kidnapping of my boy and
girl—these dental papers with and estimate and chart of the boy’s mouth in attempt to show my
child needed dental work. The grandmother of the boy accompanied me and the boy to
JEFFERSON DENTAL in Dallas Texas next toa WAL-MART on the day before Thanksgiving
2021. [EXHIBIT O]

On or about August 6, 2022 I located Ida and Aurelius in Stillwater, Oklahoma in attempt to
protect them from danger. Ida got in the car with me. The foster father RYAN DEAN
CLOPTON—Deputy with the PAYNE COUNTY SHERIFF DEPARTMENT—arrested me with
force at gunpoint, pulled from the vehicle while I was protecting my girl and threw me on the
ground with force on to my face causing me pain and difficulty breathing. I was driven by
ambulance to the Stillwater Medical Center for the injuries I sustained from the brute force to
include being held on the ground with Deputy Ryan’s knee in my back for an extended amount
of time. I was placed in detention in the PAYNE COUNTY JAIL in STILLWATER,
OKLAHOMA for 1 % years while I awaited trial. I was held on a high bond of $75,000. In the
body cam video footage of the arrest you can hear Ida screaming for her mommy. I was tried by
a jury and found guilty of CHILD STEALING and sentenced to 9 months—after serving 18
months—in the PAYNE COUNTY JAIL. I was denied a fair hearing as I was not allowed to call
witnesses or produce evidence in my favor even though my evidence was held for ‘safe keeping’
by Deputy JACOB SECREST in the property room at the PAYNE COUNTY SHERIFF
DEPARTMENT. I informed Judge PHILLIP CORLEY, District Judge of PAYNE COUNTY

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that I had evidence in my property that I intended to introduce. I was denied access to my
property. I filed a grievance with the OK BAR ASSOCIATION against my court appointed
attorney VIRGINIA BANKS during my detention in PAYNE COUNTY JAIL for failure to
defend me to include denying me subpoena of witnesses and motions to gather my evidence
from the sheriff. Case number CF-2022-317 lies in the OKLAHOMA APPELLATE COURT.
[EXHIBIT P]

During my detention I was denied ALL communication with my boy and girl by the OK DHS.
The Child Welfare Specialist(s): SONDRA CANTU and TAMMY RIGGS failed to visit me
during my detention in the PAYNE COUNTY JAIL. BETTY CAMACHO Supervisor with OK
DHS visited me on one occasion in October of 2022 to serve me with papers to include: ISP and
Petition for Termination of Parental Rights. The petition made claims that I was diagnosed with a
cognitive disorder and incapable of caring for Ida and Aurelius. This a FALSE STATEMENT
and a fabricated lie by the Canadian County District Attorney Michael Fields in attempt to
deprive me of my biological property.

During my 18 months detention CANADIAN COUNTY juvenile court appointed attorney(s)
JUSTIN HOLLIDAY and JENNIFER L HOSKINS failed to contact me by any way or means. I
filed a grievances with the OK BAR ASSOCIATION for both aforementioned attorney(s) during
my detention. Several hearings were held without my knowledge and without my attendance.
Never was I transported on a WRIT from PAYNE COUNTY to CANADIAN COUNTY so that
I could defend myself. [EXHIBIT Q}

I haven’t seen or spoken to my boy and girl in 21 months because the Child Welfare Specialist,
Tammy Riggs, will not connect me to them claiming ‘judges order.” Never have I been served
with said order. Further upon my initial contact with TAMMY RIGGS | asked her if Ida and
Aurelius were still in the STATE OF OKLAHOMA to which she replied, “NO.” When I asked
her where are my children she refused to tell me. I believe Ida and Aurelius have been trafficked
across state lines. Upon contact with the OSBI on or about March 27, 2024 I was informed that
Ida and Aurelius are still in the custody of the OK DHS but that they could not determine a

physical location. [|EXHIBIT R|
Of note:
I object to the testimony of ALL witnesses to include but not limited to:

SONYA HALL—a background check performed by a private investigator hired by Chris
Oldham on my behalf returned a criminal history.

SHAWN TAYLOR—a background check performed by a private investigator hired by Chris
Oldham on my behalf returned a criminal history.

NICOLE DESCENNA—a background check performed by me returned a criminal history.

I believe that SONYA HALL, SHAWN TAYLOR and SANDRA HENRY conspired with
JOSHUA A KOVALSCIK, NICOLE DESCENNA with people from the NEGATIVE 48 group

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in Dallas Texas to kidnap my boy and girl. Specifically, MICHAEL BRIAN PROTZMAN, JAY
ROMERO MIRANDA, SHELLY MULLINEX, STEPHEN TENNER and others. In my
property withheld from me in the PAYNE COUNTY SHERRIF DEPARTMENT contains
evidence to include but not limited to audio recordings, screenshot photographs and other
material that proves the conspiracy between these people.

The man and credentialed journalist Lewis Arthur with Veterans on Patrol in Pima County
Arizona interviewed JAY ROMERO MIRANDA regarding his accusations and subsequent
referral to CPS via Texas to Oklahoma. On the record JAY ROMERO MIRANDA fully
admitted that he NEVER witnessed me doing any of the allegations he reported. All screenshot
photographs and text messages etc are withheld in the PAYNE COUNTY SHERIFF
DEPARTMENT in my electronic devices. [EXHIBIT S|

I received documentation from a woman in OKLAHOMA who was able to research Ida and
Aurelius’ SOONER CARE—MEDICAID information. We as a family had first arrived in
OKLAHOMA on December 9, 2021. OK DHS took them from me on December 22, 2021. Yet,
the record shows that SOONER CARE was active from November 2021. I did not apply nor
approve the application for Ida or Aurelius. The record shows that they did not see any medical
doctors until January of 2022. I fully believe this was an orchestrated event planned before our
initial visit to the STATE OF OKLAHOM. Subsequently I was investigated by the OFFICE OF
THE INSPECTOR GENERAL by AGENT JIMMY COTTON. [EXHIBIT T|

Never have I entered into any contract with the OK DHS. In fact I have expressly objected to
ALL treatment by any outside or governmental agencies in to the lives of my family. If any

signature appears claiming to be by my hand be found on any outside agency document(s) they
are likely a forgery.

Included in this affidavit is a TIMELINE I began as soon as Ida and Aurelius were unlawfully
taken from me in order to keep a detailed log of this very convoluted situation. [EXHIBIT U}
I reserve the right to amend this affidavit with facts that may come to light in the future.

Executed April 30, 2024 Liberty, Missouri

I declare under penalty of perjury that the foregoing is true and correct.

Private sector autogt

(Thumbprint inte

Beneficiary: Samentha- sing: ne. te
All Rights Reser

By Authorized Representative: samantha-siong: ricks
Without Recourse

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Attachments:
EXHIBIT A
EXHIBIT B
EXHIBIT C
EXHIBIT D
EXHIBIT E
EXHIBIT F
EXHIBIT G
EXHIBIT H
EXHIBIT I
EXHIBIT J
EXHIBIT K
EXHIBIT L
EXHIBIT M
EXHIBIT N
EXHIBIT O
EXHIBIT P
EXHIBIT Q
EXHIBIT R
EXHIBIT S
EXHIBIT T
EXHIBIT U

Notary Statement

IN THE STATE OF MISSOURI,
IN CLAY COUNTY

I swear that on this | osx day of (Nau 2024. the above-named Affiant.
samantha-siong: ricks Authorized Representative for |.egal Fiction SAMANTHA RICKS
personally appeared before me. and of her own free will. signed and executed this AFFIDAVIT
OF FACTS.

Asotin Como VN \ FEO Notary Public JACQUELINE ELAINE MURTHA

\ . . Notary Public ~ Notary Seal
y Commission Expires:_\Q -© 263 9 Seal: Clay County, State of Missouri
My Commission Explres; 10/06/2027

Commission # 15438747

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Demand for relief: ADDENDUM B

i: woman samantha-siong: ricks do hereby wish and demand the immediate restoration of my
property a boy aurelius and a girl ida to its origin i: woman smanatha-siong: ricks;

The following line item(s) in accordance with my:
SELF EXECUTING CONTRACT AGREEMENT UPON CONTACT OF PUBLIC
SERVANTS/OFFICIALS served upon Wrongdoer(s); ADDENDUM C

Line item 4:

Five-hundred-thirty-nine days (539) handcuffed transported incarcerated and subjected to
frivolous adjudication without my express written and notarized consent: 12,936 hours total @
$300,000.00 per/hour:

Three Billion Eight Hundred Eighty Million Eight Hundred Thousand and 00/100-Dollars
($3,880,800,000.00)

Line item 5:

Nine-hundred-forty (940) days my property: a boy aurelius and a girl ida taken away without
my express written and notarized consent:

One Hundred Eighty Eight Million and 00/100 Dollars. ($188,000,000.00)

Line item 9:

Four (4) private organic matter: teeth forcibly removed of my girl ida under duress without my
express written notarized consent: One Billion Dollars per tooth forcibly removed:

Four Billion and 00/100-Dollars ($4,000,000,000.00)

$3,880,800,000.00
$4,000,000,000.00
+  $188,000,000.00

$8,068 ,800,000.00

Sum total:

Eight Billion Sixty Eight Million Eight Hundred Thousand and 00/100 Dollars
($8,068,800,000.00)
